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 6 Attorneys for Plaintiff
   UNITED STATES OF AMERICA
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 8
                                        UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        Case Nos. 5:24-po-00086-CDB
12                         Plaintiff,                 [Citation #9678176, CA14]
13   v.
14   COREY A. SAATHOFF,                               MOTION AND ORDER FOR DISMISSAL
15                         Defendant.
16

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18          The United States of America, by and through Phillip A. Talbert, United States Attorney, and

19 Chan Hee Chu, Assistant United States Attorney, hereby moves to dismiss Case No. 5:24-po-00086-
20 CDB [Citation #9678176, CA14] against COREY A. SAATHOFF (or “Defendant”), without prejudice,

21 in the interest of justice, pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure.

22          The United States believes that Defendant’s pending motion to dismiss will become moot

23 following an order granting the United States’ motion. The filing of the United States’s motion,

24 however, should not be construed as any indication of the United States’s views as to the merits of

25 Defendant’s pending motion. See also United States v. Drake, 543 F.3d 1080, 1089–90 (9th Cir. 2008).
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29                                                                                      USA v. Saahoff
                                                                              Case No. 5:24-po-00086-CDB
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            Case 5:24-po-00086-CDB Document 11 Filed 05/31/24 Page 2 of 3


     DATED: May 31, 2024                     Respectfully submitted,
 1
                                             PHILLIP A. TALBERT
 2                                           United States Attorney
 3                                     By:   /s/ Chan Hee Chu
                                             CHAN HEE CHU
 4                                           Assistant United States Attorney
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                                                                 Case No. 5:24-po-00086-CDB
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             Case 5:24-po-00086-CDB Document 11 Filed 05/31/24 Page 3 of 3


                                                ORDER
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 2         IT IS HEREBY ORDERED, on the motion of the United States of America pursuant to Rule
 3 48(a), Fed. R. Crim. P. (Doc. 10), that Case No. 5:24-po-00086-CDB [Citation #9678176, CA14]

 4 against Defendant COREY A. SAATHOFF be dismissed, without prejudice, in the interest of justice.

 5         And IT IS FURTHER ORDERED, given the dismissal, that the motion of Defendant Corey A.
 6 Saathoff to dismiss (Doc. 7) be DENIED AS MOOT.

 7 IT IS SO ORDERED.

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       Dated:    May 31, 2024                           ___________________               _
 9                                                UNITED STATES MAGISTRATE JUDGE
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29                                                                                USA v. Saahoff
                                                                        Case No. 5:24-po-00086-CDB
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